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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
            Plaintiff,                      )
                                            )
      vs.                                   )         Case No. 4:18 CR 75 CDP
                                            )
JAMES EMMITT COLEMAN,                       )
                                            )
            Defendant.                      )

                          MEMORANDUM AND ORDER

      Defendant James Emmitt Coleman initially filed a pro se motion for

compassionate release under 18 U.S.C. § 3582(c)(1)(A). Appointed counsel later

filed an amended motion, and both counsel and Coleman have filed additional

supplements. The motions argue that Coleman is at risk of contracting or having a

serious course of illness if he contracts COVID-19 while incarcerated in the Bureau of

Prisons. His serious medical conditions include obesity and a history of chest and

lung trauma and surgeries because of three shootings. The government opposes the

motion, arguing that defendant has failed to show extraordinary and compelling

reasons warranting a reduction of sentence.

      I conclude that Coleman has shown extraordinary and compelling reasons

warranting compassionate release. When I consider the sentencing factors under 18

U.S.C. § 3553(a) and whether he is a danger to the community I conclude that it is

appropriate to grant his motion for compassionate release. I will order that his
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sentence be reduced to time served with an additional condition of four months of

home confinement. This order will be stayed for up to fourteen calendar days to allow

the Bureau of Prisons to arrange for appropriate quarantine, if necessary, and for

appropriate travel arrangements to be made.

                                      Discussion

      On October 25, 2018, defendant pleaded guilty to two counts—felon in

possession of a firearm in violation of 18 U.S.C. § 922(g) and distribution of a

mixture or substance containing heroin and fentanyl in violation of 21 U.S.C. §

841(b)(1)(C)—and the government agreed to dismiss a third count charging him with

possession of a firearm in furtherance of a drug trafficking crime in violation of 18

U.S.C. § 924(c). The dismissed § 924(c) charge would have carried a mandatory

minimum sentence of five years consecutive to any other sentence. The parties

jointly recommended a sentence of 48 months’ imprisonment. The presentence report

determined the United States Sentencing Guidelines range was 30 to 37 months. The

plea agreement had contemplated that the joint recommendation of 48 months might

be higher than the guidelines range and I sentenced Coleman to the agreed 48 months

on January 28, 2019. He is currently housed at the Federal Medical Center at

Springfield, Missouri, with a projected release date of November 7, 2021.

      A court can reduce a final sentence only under the very limited circumstances

listed in 18 U.S.C. § 3582(c). Before the passage of the First Step Act of 2018, Pub.

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L. No. 115-391, 132 Stat. 5194 (2018), a defendant could not file a motion for

compassionate release directly with the court. Instead, only the Bureau of Prisons

could request compassionate release. United States v. Rodd, 966 F.3d 740, 745 (8th

Cir. 2020). The First Step Act changed that so that a defendant may now file a direct

motion with the court “after the defendant has fully exhausted all administrative rights

to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf or the lapse of 30 days from the receipt of such a request by the warden of the

defendant’s facility, whichever is earlier, . . . .” § 3582(c)(1)(A). Coleman has now

properly exhausted his administrative remedies because his request for a reduction in

sentence was denied. [ECF 73-2]

       Under 18 U.S.C. § 3582(c)(1)(A), compassionate release may be granted if the

court finds, “after considering the factors set forth in section 3553(a) to the extent they

are applicable,” that “extraordinary and compelling reasons warrant such a reduction.”

18 U.S.C. § 3582(c)(1)(A)(i). The statute also provides—as it did before the passage

of the First Step Act—that any reduction must be “consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

       The government argues that compassionate release may only be granted if to do

so is consistent with U.S.S.G. §1B1.13 cmt. n.1(A)-(D), which contains specific

reasons that could qualify a defendant for compassionate release. The guideline has


                                            3
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not been amended to reflect the changes wrought by the First Step Act. 1 Because the

Sentencing Commission has not provided guidance for compassionate release motions

made directly to a court, many courts have found that there is no “applicable policy

statement” that limits a court’s discretion in considering such a motion. See, e.g.,

United States v. Brooker, 976 F.3d 228, 234-37 (2nd Cir. 2020); United States v.

King, Cr. 15-50050-JLN, 2020 WL 6146446 at *3-5 (D.S.D. Oct. 20, 2020); United

States v. Schmitt, No. CR12-4076-LTS, 2020 WL 96904 at * 3 (N.D. Ia. Jan. 8, 2020);

United States v. Urkevich, 8:03-CR-37, 2019 WL 6037391 (D. Neb. Nov. 14, 2019);

United States v. Brown, 4:05-CR-00227-1, 2020 WL 2091802 at * 5-6 (S.D. Ia. Apr.

29, 2020). 2

       I agree with those courts that have concluded that we are no longer limited to

the factors that would have bound the courts and the Bureau of Prisons before passage

of the First Step Act. The guideline itself is inconsistent with the amended statute

because it requires the Director of the Bureau of Prisons to make a motion for

compassionate release. Application Note 1 is inconsistent with the new law because



       1
          The United States Sentencing Commission has not had a quorum since passage of the
First Step Act so has not passed any amendments for several years.

       2
          In Rodd, supra, the Eighth Circuit found it unnecessary to decide this issue because the
district court determined Rodd should not get relief even if a more expansive definition of
“extraordinary and compelling reasons” was used. 966 F.3d at 747-48. Accord, United States v.
Ruffin, __F.3d. __, No. 20-5748, 2020 WL 6268582 (6th Cir. Oct. 26, 2020).

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its list of specific reasons that could justify compassionate release (specific medical

conditions, age, specific family circumstances) are not required by the statute.

Moreover, its catch-all “other reasons” subsection requires the Director of the Bureau

of Prisons to determine what are “extraordinary and compelling” reasons, which is

inconsistent with the amendment’s grant of jurisdiction to the courts. I conclude that

the guidelines provision and its application note provide helpful guidance, but do not

limit the factors I can consider in determining whether compassionate release should

be granted.

       Coleman argues that he has extraordinary and compelling reasons warranting

release because of his obesity and his serious lung condition after having been the

victim of gunshot wounds on three occasions. From the last shooting, in 2012, he

suffered a hemothorax and had surgery which required blood transfusions and ten

days in the hospital. He argues that because of his fragile medical conditions and the

fact that COVID-19 frequently affects the lungs, he is at higher risk of severe

complications should he contract the virus. He also argues that his race (African

American) places him at greater risk. He points out that the disease poses an

enhanced danger to anyone confined in jail or prison because of the communal living

situation, the impossibility of social distancing in the prison setting, and the general

conditions, including inadequate sanitation. In supplemental filings he also indicates

that he had been referred for an orthopedic consultation in the spring which was later
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canceled, and that he has a serious knee condition. Another supplemental filing

points out that FMC Springfield has recently had a very serious outbreak of COVID,

and that it is impossible for him to be socially distant from his fellow prisoners.3

       I agree that Coleman’s serious lung condition and his obesity are extraordinary

and compelling reasons warranting a reduction in sentence. Both his obesity and his

history of hemothorax requiring surgery are issues that could cause him to suffer a

very serious course of illness should he contract COVID. When I consider all the

sentencing factors listed in 18 U.S.C. § 3553(a) as well as whether Coleman is a

danger to the community, I also conclude that a reduction in sentence is appropriate. I

will, however, add an additional condition of supervised release that he be placed on

home confinement for a period of four months, because of the seriousness of his crime

in this case.

       Coleman’s home plan is to return to the family home and live with his wife and

three children. Additionally, he points out that he is the father of a 4 year old child

who has recently been placed in foster care with his maternal grandmother. Coleman



       3
          As of today, the BOP website says that there are currently 133 inmates and 41
staff members who are positive for COVID-19; five inmates have died; 151 inmates and
41 staff members have recovered. Federal Bureau of Prisons, Covid-19 Coronavirus,
https://www.bop.gov/coronavirus (last accessed November 16, 2020). As recently as two
months ago the BOP was reporting no positive inmates or staff and no deaths at
Springfield. In other words, Coleman’s argument that things have changed for the worse
is correct.

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was not able to attend the Family Court hearing by video, but that court granted him

visitation rights with his son and he wishes to take an active role in his life. He has

had no disciplinary write-ups while in the BOP and has completed a number of

education programs, including obtaining his GED and having occupational training in

plumbing.

      The government argues that Coleman was convicted of a serious crime and that

lowering his sentence is unjust. There is no doubt that his crime was serious: upon

his arrest he was in possession of two loaded firearms and a quantity of narcotics. His

prior felony convictions include possession of a loaded weapon while intoxicated,

burglary second degree and unlawful possession of a firearm. Even recognizing the

seriousness of the crime, however, I conclude that Coleman’s medical conditions,

family responsibilities, and his record while incarcerated indicate that he will not be a

danger when released. I will require a four-month period of home confinement as an

additional condition of supervised release because of the seriousness of the crime.

      I will reduce defendant’s sentence to time served, for the reasons stated above,

with an additional condition of supervised release of four months of home

confinement. I will also provide that the Bureau of Prisons may delay defendant’s

release for a period not to exceed fourteen days and only if necessary for quarantine or

to make travel arrangements for his release.

      Accordingly,
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      IT IS HEREBY ORDERED that defendant James Emmitt Coleman’s motions

for compassionate release [60, 66] are granted and defendant’s sentence of

imprisonment is reduced to time served, provided that the Bureau of Prisons may

delay his release for a period not to exceed fourteen days only for the purpose of any

necessary quarantine or to make travel arrangements for his release.

      An Amended Judgment complying with this Order and Memorandum is

entered separately today.



                                        _______________________________
                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE

Dated this 16th day of November, 2020.




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